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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


United States of America,

               Plaintiff,
                                                            MEMORANDUM OPINION
       v.                                                   AND ORDER
                                                            Crim. No. 07-50(12) ADM/SRN
Raed Yassin Wazwaz,

            Defendant.
______________________________________________________________________________

David J. MacLaughlin, Esq., Assistant United States Attorney, Minneapolis, MN, on behalf of
Plaintiff.

Jordan S. Kushner, Esq., Law Office of Jordan S. Kushner, Minneapolis, MN, on behalf of
Defendant.
______________________________________________________________________________

                                     I. INTRODUCTION

       This matter is before the undersigned United States District Judge pursuant to Raed

Yassin Wazwaz’s (“Defendant”) Motion to Correct Presentence Report [Docket No. 262]

(“Def’s Mot.). For the reasons set forth below, Defendant’s Motion is denied.

                                       II. DISCUSSION

       Defendant requests that the Court “correct or modify paragraph 69 of the revised

Presentence Report by eliminating the finding that Mr. Wazwaz used sophisticated means and

deleting the enhancement of two points for use of sophisticated means.” Def’s Mot. Defendant

contends that the correction is necessary because the application of the enhancement set forth in

the Pre-Sentencing Report (“PSR”) is inconsistent with this Court’s decision not to apply the

enhancement in calculating the Defendant’s offense level for sentencing.

       The PSR reflects the judgment of the presentence investigator on the applicability of the
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Federal Sentencing Guidelines to Defendant’s case. This Court independently decides whether

or not to follow the recommendation of the presentence investigator on sentencing issues. The

recommendation in the PSR regarding sophisticated means does not lack factual foundation and

reflects the judgment of the investigator. Accordingly, the PSR is accurate. There is no need to

alter the PSR to be consistent with the Court’s ultimate decision on enhancement because there

are no collateral consequences associated with the inclusion of the sophisticated means

enhancement in the PSR. The Court’s decision to reject the recommended enhancement in

sentencing Defendant is clearly reflected in the Judgment and Commitment.

                                     III. CONCLUSION

       Based upon the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that Defendant’s Motion be DENIED.

                                                    BY THE COURT:



                                                           s/Ann D. Montgomery
                                                    ANN D. MONTGOMERY
                                                    U.S. DISTRICT JUDGE

Dated: November 8, 2007.




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